       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 1 of 13




                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW MEXICO

 JUSTON WALTRIP, ET AL.,

                   Plaintiff,

 v.
                                                      Case No.: 2:21-cv-00642-GBW-KRS
 PILOT TRAVEL CENTERS LLC and PILOT
 CORPORATION,

                   Defendants.



                                STIPULATED PROTECTIVE ORDER

         Pursuant to Fed. R. Civ. P. 26(c), and pursuant to the parties’ stipulation and agreement, it

is hereby ORDERED that the following provisions shall govern the pretrial disclosure and use by

the parties of all documents, electronically stored information (“ESI”), testimony, and other

information given during the course of discovery that is designated “Confidential” or “Highly

Confidential.”

         1.        Scope. All documents and materials produced in the course of discovery of

this case, including initial disclosures, responses to discovery requests, all deposition

testimony and exhibits, and information derived directly therefrom (hereinafter collectively

“documents”), are subject to this Order concerning Confidential Information as set forth

below. As there is a presumption in favor of open and public judicial proceedings in the

federal courts, this Order will be strictly construed in favor of public disclosure and open

proceedings wherever possible.




                                                  1
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 2 of 13




         2.        Definition of Confidential Information.         As used in this Order,

“Confidential Information” is defined as information that the producing party designates

in good faith has been previously maintained in a confidential manner and should be

protected from disclosure and use outside the litigation because its disclosure and use is

restricted by statute or could potentially cause harm to the interests of disclosing party or

nonparties.        For purposes of this Order, the parties will limit their designation of

“Confidential Information” to the following categories of information or documents:

                   a.    Non-public financial information and other information of Defendant

that contains trade secrets, future business plans, market analysis, confidential research,

development, commercial or other proprietary information.

                   b.    Health care information, personnel records, tax records, financial

records and information, Social Security numbers, and other sensitive and personal

information related to Plaintiff.

                   c.    Any testimony regarding Confidential Information as defined in

Paragraphs 2(a)-(d) above.

                   d.    Extracts and summaries prepared from such materials set forth in

Paragraphs 2(a)-(e) above.

                   e.    Those portions of briefs, affidavits, memoranda, depositions, or other

writings, including exhibits thereto, which contain or refer to the Confidential Information.

         Information or documents that are available to the public may not be designated as

Confidential Information.



                                                2
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 3 of 13




         3.        Form and Timing of Designation. The producing party may designate

documents as containing Confidential Information and therefore subject to protection

under this Order by marking or placing the words “CONFIDENTIAL” (hereinafter “the

marking”) on the document and on all copies in a manner that will not interfere with the

legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information.

The marking will be applied prior to or at the time the documents are produced or disclosed.

Applying the marking to a document does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Order.

Copies that are made of any designated documents must also bear the marking, except that

indices, electronic databases, or lists of documents that do not contain substantial portions

or images of the text of marked documents and do not otherwise disclose the substance of

the Confidential Information are not required to be marked. By marking a designated

document as confidential, the designating attorney or party appearing pro se thereby

certifies that the document contains Confidential Information as defined in this Order.

         4.        Inadvertent Failure to Designate. Inadvertent failure to designate any

document or material as containing Confidential Information will not constitute a waiver

of an otherwise valid claim of confidentiality pursuant to this Order, so long as a claim of

confidentiality is asserted within fourteen (14) days after discovery of the inadvertent

failure.



                                               3
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 4 of 13




         5.        Depositions, Discovery Responses, and 26(a) Disclosures. Deposition

testimony, discovery responses, and 26(a) disclosures will be deemed confidential only if

designated as such when the deposition is taken or when the discovery response or

disclosure is served, or within a reasonable time thereafter. Such designation must be

specific as to the portions of the discovery response, disclosure, or transcript and/or any

exhibits to be protected.

         6.        Protection of Confidential Material.

                   a.     General Protections. Designated Confidential Information must be

used or disclosed solely for purposes of prosecuting or defending this lawsuit, including

any appeals, or any other related legal proceeding brought by one of the parties to this

litigation.

                   b.     Who May View Designated Confidential Information. Except

with the prior written consent of the designating party, prior order of the court, or observed

in open court in a hearing or trial, designated Confidential Information may only be

disclosed to the following persons:

                          i.     The parties to this litigation, including any employees, agents,

                   and representatives of the parties;1



1
 If the confidential documents contain highly sensitive trade secrets or other highly sensitive
competitive or confidential information and disclosure to another party would result in
demonstrable harm to the disclosing party, then the parties may stipulate or move for the
establishment of an additional category of protection, (e.g., Attorneys’ Eyes Only) that prohibits
disclosure of such documents or information to that category or that limits disclosure only to

                                                  4
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 5 of 13




                          ii.      Counsel for the parties and employees and agents of counsel;

                          iii.     The court and court personnel, including any special master

                   appointed by the court, and members of the jury;

                          iv.      Court reporters, recorders, and videographers engaged for

                   depositions;

                          v.       Any mediator appointed by the court or jointly selected by the

                   parties;

                          vi.      Any expert witness, outside consultant, or investigator retained

                   specifically in connection with this litigation, but only after such persons

                   have       completed   the   certification   contained    in   Attachment     A,

                   Acknowledgment and Agreement to be Bound;

                          vii.     Any potential, anticipated, or actual fact witness and his or her

                   counsel, but only to the extent such confidential documents or information

                   will assist the witness in recalling, relating, or explaining facts or in

                   testifying;

                          viii.    The author or recipient of the document (not including a

                   person who received the document in the course of the litigation);




specifically designated in-house counsel or party representative(s) whose assistance is reasonably
necessary to the conduct of the litigation and who agree to be bound by the terms of the Order.


                                                    5
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 6 of 13




                          ix.    Independent providers of document reproduction, electronic

                   discovery, or other litigation services retained or employed specifically in

                   connection with this litigation; and

                          x.     Other persons only upon consent of the producing party and on

                   such conditions as the parties may agree.

                   c.     Control of Documents. The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing

Confidential Information pursuant to the terms of this Order.

         7.        Filing of Confidential Information. In the event a party seeks to file any

document containing Confidential Information subject to protection under this Order with

the court, that party must file the document containing the Confidential Information as

“Accessible by all case participants but not the public” pursuant to the United States

District Court, District of New Mexico CM/ECF Administrative Procedures Manual,

Section 9(h)(2)(B).

         8.        Challenges to a Confidential Designation. The designation of any material

or document as Confidential Information is subject to challenge by any party. Before filing

any motion or objection to a confidential designation, the objecting party must meet and

confer in good faith to resolve the objection informally without judicial intervention. A

party that elects to challenge a confidentiality designation may file and serve a motion that

identifies the challenged material and sets forth in detail the basis for the challenge. The



                                                  6
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 7 of 13




burden of proving the necessity of a confidentiality designation remains with the party

asserting confidentiality. Until the court rules on the challenge, all parties must continue

to treat the materials as Confidential Information under the terms of this Order.

         9.        Use of Confidential Documents or Information at Trial or Hearing.

Nothing in this Order will be construed to affect the use of any document, material, or

information at any trial or hearing. The court may make such orders as are necessary to

govern the use of such documents or information at the hearing or trial.

         10.       Obligations on Conclusion of Litigation.

                   a.    Order Remains in Effect. Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion

of the litigation.

                   b.    Return of Confidential Documents.            Within 30 days after this

litigation concludes by settlement, final judgment, or final order, including all appeals, and

upon written request of the producing party, all documents designated as containing

Confidential Information, including copies as defined above, must be returned to the party

who previously produced the document unless: (1) the document has been offered into

evidence or filed without restriction as to disclosure; (2) the parties agree to destruction of

the document to the extent practicable in lieu of return;2 or (3) as to documents bearing the



2
 The parties may choose to agree that the receiving party must destroy documents containing
Confidential Information and certify the fact of destruction, and that the receiving party must not
be required to locate, isolate and return e-mails (including attachments to e-mails) that may include

                                                 7
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 8 of 13




notations, summations, or other mental impressions of the receiving party, that party elects

to destroy the documents and certifies to the producing party that it has done so.

                   c.    Retention   of   Work      Product.     Notwithstanding      the   above

requirements to return or destroy documents, counsel may retain attorney work product,

including an index which refers or relates to designated Confidential Information, so long

as that work product does not duplicate verbatim substantial portions of the text or images

of designated documents. This work product will continue to be confidential under this

Order. An attorney may use his or her own work product in subsequent litigation provided

that its use does not disclose Confidential Information.

         11.       Order Subject to Modification. This Order is subject to modification by

the court on its own motion or on motion of any party or any other person with standing

concerning the subject matter. The Order must not, however, be modified until the parties

have been given notice and an opportunity to be heard on the proposed modification.

         12.       No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing in this Order will be construed or presented as a judicial determination that any

document or material designated as Confidential Information by counsel or the parties is




Confidential Information, or Confidential Information contained in deposition transcripts or drafts
or final expert reports.


                                                8
4861-6111-5652.1
       Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 9 of 13




entitled to protection under Fed. R. Civ. P. 26(c) or otherwise until such time as the court

may rule on a specific document or issue.

         13.       Persons Bound by Protective Order. This Order will take effect when

entered and is binding upon all counsel of record and their law firms, the parties, and

persons made subject to this Order by its terms.

         14.       Jurisdiction. The court’s jurisdiction to enforce the provisions of this Order

will terminate on the final disposition of this case. But a party may file a motion to seek

leave to reopen the case to enforce the provisions of this Order.

         15.       Applicability to Parties Later Joined. If additional persons or entities

become parties to this lawsuit, they must not be given access to any Confidential

Information until they execute and file with the court their written agreement to be bound

by the provisions of this Order.

         16.       Protections Extended to Third-Party’s Confidential Information. The

parties agree to extend the provisions of this Protective Order to Confidential Information

produced in this case by third parties, if timely requested by the third party.

         17.       Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this

action as Confidential Information, the receiving party must so notify the designating party,




                                                  9
4861-6111-5652.1
      Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 10 of 13




in writing, immediately and in no event more than three business days after receiving the

subpoena or order. Such notification must include a copy of the subpoena or court order.

         The receiving party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material covered

by the subpoena or order is the subject of this Order. In addition, the receiving party must

deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

         The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try

to protect its Confidential Information in the court from which the subpoena or order

issued. The designating party bears the burden and the expense of seeking protection in

that court of its Confidential Information, and nothing in these provisions should be

construed as authorizing or encouraging a receiving party in this action to disobey a lawful

directive from another court. The obligations set forth in this paragraph remain in effect

while the party has in its possession, custody, or control Confidential Information

designated by the other party to this case.

         18.       Inadvertent Disclosure of Confidential Information Covered by

Attorney-Client Privilege or Work Product. The inadvertent disclosure or production

of any information or document that is subject to an objection on the basis of attorney-client

privilege or work-product protection, including, but not limited, to information or



                                              10
4861-6111-5652.1
      Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 11 of 13




documents that may be considered Confidential Information under the Protective Order,

will not be deemed to waive a party’s claim to its privileged or protected nature or estop

that party or the privilege holder from designating the information or document as

attorney-client privileged or subject to the work product doctrine at a later date. Any party

receiving any such information or document must return it upon request to the producing

party. Upon receiving such a request as to specific information or documents, the receiving

party must return the information or documents to the producing party within seven (7)

days, regardless of whether the receiving party agrees with the claim of privilege and/or

work-product protection. Disclosure of the information or document by the other party

prior to such later designation will not be deemed a violation of the provisions of this Order.

The provisions of this section constitute an order pursuant to Rules 502(d) and(e) of the

Federal Rules of Evidence.



         IT IS SO ORDERED.




                                           ____________________________________
                                           U.S. Magistrate Judge




                                              11
4861-6111-5652.1
      Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 12 of 13




WE SO MOVE                                  WE SO MOVE
and agree to abide by the                   and agree to abide by the
terms of this Order                         terms of this Order


/s/ Benjamin W. Allen (with consent)        /s/ Alan L. Rupe
Signature                                   Signature

Benjamin W. Allen                           Alan L. Rupe
Printed Name                                Printed Name


Counsel for: Plaintiffs                     Counsel for: Defendants


Dated:                                      Dated:




                                       12
4861-6111-5652.1
    Case 2:21-cv-00642-GBW-KRS Document 39 Filed 12/01/21 Page 13 of 13




                                   ATTACHMENT A

                            ACKNOWLEDGMENT AND
                            AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Protective Order

dated _______________ in the case captioned, Juston Waltrip, et al. v. Pilot Travel Centers

LLC and Pilot Corporation (Case No. 2:21-cv-00643-GBW-KRS), and attached hereto,

understands the terms thereof, and agrees to be bound by its terms. The undersigned

submits to the jurisdiction of the United States District Court for the District of New

Mexico in matters relating to this Protective Order and understands that the terms of the

Protective Order obligate him/her to use materials designated as Confidential Information

in accordance with the order solely for the purposes of the above-captioned action, and not

to disclose any such Confidential Information to any other person, firm, or concern, except

in accordance with the provisions of the Protective Order.

        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:                       ______________________________________

Job Title:                  ______________________________________

Employer:                   ______________________________________

Business Address:           ___________________________

                            ___________________________

Date:                       _________________

___________________________
Signature
